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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 17-20608-CIV-O’SULLIVAN

                                            [CONSENT]

  ARWIN NICOLAS ZAPATA CARRERO,

            Plaintiff,

  v.

  SANABI INVESTMENTS LLC d/b/a
  OSCAR’S MOVING & STORAGE,
  SAADY BIJANI a/k/a SANDY BIJANI,
  HANIN PRIETO,

       Defendants.
  ________________________________/

                                             ORDER1

            THIS MATTER is before the Court following a status hearing on July 2, 2019. For

  the reasons stated on the record, it is

            ORDERED AND ADJUDGED that no later than July 2, 2019, the parties shall

  file joint proposed jury instructions and proposed verdict forms. The joint proposed jury

  instructions shall indicate any objections by either party to any instruction. The parties

  shall submit a copy of the joint proposed jury instructions and proposed verdict forms as

  attachments, in Word or WordPerfect format, to O'Sullivan@flsd.uscourts.gov. It is

  further

            ORDERED AND ADJUDGED that the Plaintiff’s Motion to Strike Defendants’

  Trial Witnesses and Exhibits (DE# 175, 6/25/19) is GRANTED in part and DENIED in

  part. The tax returns are excluded from trial. The Court will reserve ruling on whether

  the tax returns may be used on rebuttal. It is further



            1
         This case is stayed as to defendants Sanabi Investments LLC and Saady Bijani
  who are in bankruptcy proceedings.
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          ORDERED AND ADJUDGED that on or before Tuesday, July 23, 2019, the

  defendant shall provide to the plaintiff a detailed summary of the testimony of Jonatan

  Ellie and Sandy Vargas. The parties shall notify each other no later than Tuesday,

  July 30, 2018 whether either party wishes to depose Mr. Ellie and/or Ms. Vargas. The

  depositions shall take place no later than Tuesday, August 13, 2019.

          DONE AND ORDERED in Chambers at Miami, Florida this 2nd day of July,

  2019.

                                    JOHN J. O’SULLIVAN
                                    CHIEF UNITED STATES MAGISTRATE JUDGE
